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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,

 v.                                       CASE NO. 8:12-CR-205-T-17MAP

 COREY DEONTA HARRIS.

 ___________________________/


                                   AMENDED ORDER


       This cause is before the Court on:

       Dkt. 868      Amended Ex Parte Motion to Allow Use of Electronics in the
                     Courthouse

       Defendant Corey Deonta Harris requests entry of an Order allowing Bjorn
 Brunvand, Esq., J. D. Thomas, investigator, and Jennifer Vanover, law clerk/paralegal,
 to bring a personal wireless hotspot, laptop computers and cell phones into the
 Courthouse for use during the trial of this case, which is to commence on June 6, 2016
 and is expected to continue through August 30, 2016. Although this Motion was
 designated an ex parte Motion, counsel for Defendant Harris agrees that it is not
 necessary for the Motion and Order to be filed ex parte.


       After consideration, the Court grants the Ex Parte Motion to Allow Use of
 Electronics in the Courthouse as follows:


       Bjorn Brunvand, Esq.
       Bjorn E. Brunvand, PA
       615 Turner Street
       Clearwater, FL 33756
       (727) 446-7505                                  personal wireless hotspot
                                                       for use in defense counsel room
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        J. D. Thomas
        Forensic Consulting Services, LLC
        5427 Saltamonte Dr.
        New Port Richey, FL 34655                        laptop computer
                                                         cell phone

        Jennifer Vanover
        Bjorn E. Brunvand, P.A.
        615 Turner St.
        Clearwater, FL 33756                             laptop computer
                                                         cell phone


        DATE THAT EQUIPMENT MAY BE
        BROUGHT INTO THE FACILITY:                       June 6, 2016 through
                                                         conclusion of trial

        PURPOSE:                                         To assist in efficient organization
                                                         of voluminous documentary
                                                         evidence at trial;
                                                         to take notes, keep track of
                                                         evidence and prepare documents
                                                         if necessary

        PLACE AT WHICH EQUIPMENT MAY
        BE USED:                                         Courtroom 14A


 Each individual shall present a copy of this Order upon entering the security station, and
 proper identification will be required. All electronic equipment remains subject to
 inspection by the U.S. Marshal, pursuant to Fed. R. Crim. P. 53 (prohibiting courtroom
 photography and broadcasting in criminal cases) and Local Rule 4.11(a)(2)(prohibiting
 courtroom photography and broadcasting in all cases). A copy of General Order 6:13-
 MC 94-ORL-22 is attached to this Order. Accordingly, it is




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         ORDERED that Defendant Corey Deonta Harris’s Second Ex Parte Motion to
 Allow the Use of Electronics in the Courthouse (Dkt. 868) is granted. Counsel for
 Defendant Corey Deonta Harris shall provide a copy of this Order to the authorized
 persons named in this Order.




         DONE and ORDERED in Chambers in Tampa, Florida on this 7th day of June,
 2016.




 Copies to:
 Bjorn Brunvand, Esq.
 CSO




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